           Case 18-15879-elf                 Doc       Filed 10/30/20 Entered 10/30/20 17:49:22                               Desc Main
 Fill in this information to identify the case:         Document     Page 1 of 8
 Debtor 1          Arthur  R Martin
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern
                                         __________ District of Pennsylvania
                                                                __________

 Case number           18-15879-elf
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                      5
                                                                                    Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                             Date of payment change:
 identify the debtor’s account:                          7 ____
                                                        ____ 3 ____
                                                                 8 ____
                                                                     6              Must be at least 21 days after date        12/1/2020
                                                                                                                               _____________
                                                                                    of this notice


                                                                                    New total payment:                                  618.75
                                                                                                                                $ ____________
                                                                                    Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                     159.58
                   Current escrow payment: $ _______________                      New escrow payment:                   156.83
                                                                                                              $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:       _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                             page 1
           Case 18-15879-elf                    Doc               Filed 10/30/20 Entered 10/30/20 17:49:22                         Desc Main
                                                                   Document     Page 2 of 8

Debtor 1         Arthur   R Martin
                 _______________________________________________________                       Case number         18-15879-elf
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û   _____________________________________________________________
     Signature
                                                                                               Date     10/27/2020
                                                                                                        ___________________




 Print:             Janet  M. Spears
                    _________________________________________________________                  Title   Authorized  Agent for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Aldridge  Pite, LLP
                    _________________________________________________________



 Address            4375  Jutland Dr. Suite 200; P.O. Box 17933
                    _________________________________________________________
                    Number                 Street

                    San  Diego                       CA     92177
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (858) 750-7600
                    ________________________                                                         jspears@aldridgepite.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 4
                  Midland Mortgage
         Case 18-15879-elf
                  P.O. Box 26648 Doc           Filed 10/30/20 Entered 10/30/20 17:49:22                       Desc Main
                                                 Document
                       Oklahoma City, OK 73126-0648          Page 3 of 8
                                                                                        Loan number:
                                                                                                   928 N 67TH ST
                                                                                        PHILADELPHIA PA 19151
                                                                                       Date Reviewed: 09/22/2020
                                                                           Next Escrow Cycle: Dec 2020 - Nov 2021


     ARTHUR R MARTIN
     928 N 67TH ST
     PHILADELPHIA PA 19151




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below. The “Escrow Surplus” section gives the amount of your
need to do         escrow surplus and explains the status of your surplus funds. The last page of this statement includes
next?              helpful answers to common escrow questions.

Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $618.75 beginning with the 12/1/2020
mortgage payment.

Monthly Payment                                Old Payment                       New Payment                          Change
Principal & Interest                           $461.92                           $461.92                              None
Escrow Deposit                                 $159.58                           $156.83                              Decrease
Escrow Shortage or Surplus                     $0.00                             $0.00                                None
Total Monthly Mortgage Payment                 $621.50                           $618.75                              Decrease



Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
last review and the new amounts we expect to pay from your escrow account between December 2020 and November
2021.

Escrow Bills                                   Old Amount                        New Amount                            Change
Homeowners Ins                                 $966.00                           $966.00                               None
MI Premiums                                    $177.12                           $162.12                               Decrease
City/Town Tax                                  $771.89                           $753.87                               Decrease
Annual Total                                   $1,915.01                         $1,881.99                             Decrease
                                                                                                                                       Page     2 of 4
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $286.64

                               Your lowest expected escrow balance:                                                                         $694.44
                               Your required minimum balance                                                                                $286.64
                               The difference creates a surplus in your escrow account of:                                                  $407.80
Because the lowest expected balance is higher than the required minimum balance, there is a surplus of $407.80 in your account.
This surplus is illustrated in the table below, and can be found by calculating the difference in the bolded numbers in the
Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                           EXPECTED PAYMENTS           EXPECTED PAYMENTS                                              ANTICIPATED          REQUIRED
    MONTH-YEAR                 TO ESCROW                  FROM ESCROW                 DESCRIPTION                        BALANCE            BALANCE
                                                                                      Starting Balance                   $1,018.35           $610.55
     Dec-20                    $156.83                         -$13.51                MI PREMIUMS                        $1,161.67           $753.87
     Jan-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,304.99           $897.19
     Feb-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,448.31          $1,040.51
     Feb-21                    $0.00                           -$753.87               CITY/TOWN TAX                        $694.44           $286.64
     Mar-21                    $156.83                         -$13.51                MI PREMIUMS                          $837.76           $429.96
     Apr-21                    $156.83                         -$13.51                MI PREMIUMS                          $981.08           $573.28
     May-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,124.40           $716.60
     Jun-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,267.72           $859.92
     Jul-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,411.04          $1,003.24
     Aug-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,554.36          $1,146.56
     Sep-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,697.68          $1,289.88
     Oct-21                    $156.83                         -$966.00               HAZARD                               $888.51           $480.71
     Oct-21                    $0.00                           -$13.51                MI PREMIUMS                          $875.00           $467.20
     Nov-21                    $156.83                         -$13.51                MI PREMIUMS                        $1,018.32           $610.52
     Total                     $1,881.96                       -$1,881.99


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 12/1/2019 through 9/1/2020. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                  PAYMENTS TO                                        PAYMENTS FROM                                                   ESCROW
                    ESCROW                                              ESCROW                                                       BALANCE
 MONTH-
              Estimated        Actual        Estimated          Description            Actual             Description         Estimated         Actual
  YEAR
                                                                                                Starting Balance                 $627.07       -$1,749.92
 Dec-19          $159.58        $340.99          -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $771.89       -$1,422.44
 Jan-20          $159.58        $159.58          -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $916.71       -$1,276.37
 Jan-20            $0.00           $0.00           $0.00                               -$753.87         CITY/TOWN TAX            $916.71       -$2,030.24
 Feb-20          $159.58           $0.00         -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*          $1,061.53       -$2,043.75
 Feb-20            $0.00           $0.00       -$771.89      CITY/TOWN TAX                 $0.00                                 $289.64       -$2,043.75
 Mar-20          $159.58        $319.16          -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $434.46       -$1,738.10
 Apr-20          $159.58           $0.00         -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $579.28       -$1,751.61
 May-20          $159.58        $159.58          -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $724.10       -$1,605.54
 Jun-20          $159.58           $0.00         -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*            $868.92       -$1,619.05
  Jul-20         $159.58        $159.58          -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*          $1,013.74       -$1,472.98
 Aug-20          $159.58           $0.00         -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*          $1,158.56       -$1,486.49
 Sep-20          $159.58           $0.00         -$14.76      MI PREMIUMS                -$13.51         MI PREMIUMS*          $1,303.38       -$1,500.00
   Total       $1,595.80      $1,138.89        -$919.49                                -$888.97

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
                                                                                                                                            Page    3 of 4
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 Escrow Surplus
 There is a surplus in your escrow account in the amount of $407.80. See below for details about how we determined what to do with
 the surplus in your escrow account and how it may have affected your monthly mortgage payment.



          If the surplus is $50 or more and your loan was current
          Loans that are current as of the date of the escrow analysis with an escrow surplus of $50 or more are issued a check
           for the amount of the escrow surplus. If a check for your escrow surplus is attached to the bottom of this page, please
           cash it as soon as possible. If the check is not cashed within 90 days, the check will expire and the surplus will be
          returned to the escrow account.

          If the surplus is less than $50 and your loan was current
          If the loan was current as of the date of the escrow analysis and has an escrow surplus of less than $50, the amount of the
          escrow surplus has been credited to your monthly escrow payment over the next 12 months, lowering the monthly mortgage
          payment amount. See the “New Monthly Mortgage Payment” section on page 1 for details about the monthly surplus credit.

          If your loan payments are past due by 30 days or more
          If the loan payment was not due for the current month as of the date of the escrow analysis, the surplus was retained in your
          escrow account.

                               Your monthly mortgage payment will be $618.75 beginning on 12/1/2020.
                                This is the lowest your monthly payment amount can be at this time.



                             What if I have enrolled in an Automatic Payment Plan?
      •     If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
      •     If you use an automatic payment program other than Midland’s, please contact your payment administrator
            and ask them to update your payment to the new amount.




                                                      Worried About Payments?
      If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
      8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

      You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.




                               Please review the reverse side of this statement for
                                 helpful answers to common escrow questions.

----------------------------------------------------------------------------------------------------------------------------------------------------------------


    If this statement indicates that there is a surplus that exceeds
  $50 in your account and your loan was current, the amount of the
    escrow surplus will be sent in a separate mailing with a check
  enclosed. ?If your loan is not current or the surplus was less than
    or equal to $50, the escrow surplus has been held in escrow.

                                           www.MyMidlandMortgage.com
                                                                                                       Page   4 of 4
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 What are my payment options if I have a shortage in my escrow balance?
  You can either pay the shortage in full by sending us payment for the full shortage amount, or we will automatically
  spread the shortage amount over the next 12 months and include it in your new monthly mortgage payment.

Q5 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q6 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q7 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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     ALDRIDGE PITE, LLP
     4375 Jutland Drive, Suite 200
     P.O. Box 17933
     San Diego, CA 92177-0933
     Telephone: (858) 750-7600
     Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

             EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
     In re                                           Case No. 18-15879-elf

     ARTHUR R MARTIN,                                Chapter 13

                      Debtor(s).                     PROOF OF SERVICE


             I, Sarah Valdez, declare that:

             I am employed by Aldridge Pite, LLP. My business address is: 4375 Jutland Drive, Suite

    200, P.O. Box 17933, San Diego, CA 92177-0933. I am over the age of eighteen years and not a

    party to this case.

             On October 30, 2020, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to

    be served in said case by electronic means through the court’s CM/ECF system or through United

    States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
             I declare under penalty of perjury that the foregoing is true.



                                                    /s/Sarah Valdez
                                                    SARAH VALDEZ




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    PROOF OF SERVICE
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                                         SERVICE LIST

    DEBTOR(S)
    (VIA US MAIL)
    Arthur R Martin
    928 N. 67th Street
    Philadelphia, PA 19151




    DEBTOR(S) ATTORNEY
    (VIA ELECTRONIC NOTICE)
    DAVID M. OFFEN



    CHAPTER 13 TRUSTEE
    (VIA ELECTRONIC NOTICE)
    William C. Miller, Esq.


    UNITED STATES TRUSTEE
    (VIA ELECTRONIC NOTICE)
    United States Trustee




                                               -2-
    PROOF OF SERVICE
